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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DIVISION OF MONTANA
                          BUTTE DIVISION

GINA JAEGER, individually, AND AS           Cause No. CV- 1 6-30-BU-SEH
PERSONAL REPRESENTATIVE OF THE
ESTATE OF HER SISTER CHARLENE
HILL,
                                              PLAINTIFF'S MOTION
               Plaintiff,                      TO REMAND CASE
                                                TO STATE COURT
        vs.

GENESIS HEALTHCARE, INC.,
d/b/a THE BUTTE CENTER,
JOHN DOE LLC's 1-10;
JOHN DOE, INC., 1-10

              Defendants.



      Plaintiff respectfully moves this Court, pursuant to 28 USC 1447 et. al.,

to remand this case back to the 2! Judicial District Court of the State of
                                         Ps Motion to Remand Case to State Court
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 Montana, Butte Silver Bow County on the following grounds:

       1. A non-party to litigation cannot remove a case to Federal Court.

 Opposing counsel has been contacted and does object to this motion.

             DATED this 16' day of June, 2016.



                                       /s/ Torger S. Oaas
                                       TORGER S. OAAS
                                       Attorney for Plaintiff




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